Case 3:20-cv-06180-FLW-DEA Document 32 Filed 08/03/20 Page 1 of 18 PageID: 1213



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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY

  FINANCIAL RESOURCES FEDERAL
  CREDIT UNION,                         Civil Action No. 3:20-cv-
                                        06180- FLW-DEA
         Plaintiff,

  v.                                               CIVIL ACTION

  ALLOYA CORPORATE FEDERAL
  CREDIT UNION, DIEBOLD NIXDORF
  and DIEBOLD INCORPORATED, J.P.
  MORGAN CHASE BANK, N.A. d/b/a
  CHASE BANK, LOOMIS ARMORED
  INC., BRINKS COMPANY, DUNBAR
  ARMORED, ABC Corps. #1-5

         Defendants.




       BRIEF IN OPPOSITION TO DEFENDANT’S, J.P. MORGAN CHASE BANK,
                         N.A., MOTION TO DISMISS
Case 3:20-cv-06180-FLW-DEA Document 32 Filed 08/03/20 Page 2 of 18 PageID: 1214




                             TABLE OF CONTENTS

 TABLE OF CONTENTS . . . . . . . . . . . . . . . . . . . . i

 TABLE OF AUTHORITIES. . . . . . . . . . . . . . . . . . . ii

 PRELIMINARY STATEMENT. . . . . . . . . . . . . . . . . . .1

 STATEMENT OF FACTS. . . . . . . . . . . . . . . . . . . . 1

 LEGAL ARGUMENT. . . . . . . . . . . . . . . . . . . . . . 2

       I.    WHERE PLAINTIFF PLED LEGALLY COGNIZABLE CLAIMS
             AGAINST DEFENDANT J.P. MORGAN CHASE BANK, N.A.,
             DEFENDANT’S MOTION TO DISMISS MUST BE DENIED. . .2


       II.   DESPITE DEFENDANT’S ARGUMENT TO THE CONTRARY, A
             FIDUCIARY DUTY EXISTS BETWEEN PLAINTIFF AND DEFENDANT,
             AND WHERE THERE IS NO OTHER REMEDY AT LAW, PLAINTIFF IS
             ENTITLED TO AN ACCOUNTING. . . . . . . . . . . . .4

                A. PLAINTIFF CAN ESTABLISH THE NECESSARY ELEMENTS FOR
                   AN ACCOUNTING CLAIM WHERE THERE EXISTS A FIDUCIARY
                   RELATIONSHIP AND THERE IS NO OTHER REMEDY AT LAW
                   FOR THE RELIEF PLAINTIFF SEEKS IN COUNT I OF
                   PLAINTIFF’S COMPLAINT. . . . . . . . . . . . .9

       III. PLAINTIFF’S CLAIM FOR CONVERSION IS PROPER BECAUSE           THE
            FUNDS ARE NOT A DEBT, AND THE MONEY SUBJECT TO               THE
            ALLEGED CONVERSION WAS A DETERMINATE SUM THAT                WAS
            ENTRUSTED TO DEFENDANT FOR A SPECIFIC PURPOSE.. . .          .10

       IV.   THE U.C.C. DOES NOT BAR PLAINTIFF FROM MAKING A COMMON
             LAW CONVERSION CLAIM. . . . . . . . . . . . . . . . 12

 Conclusion. . . . . . . . . . . . . . . . . . . . . . . . . . 14




                                      i
Case 3:20-cv-06180-FLW-DEA Document 32 Filed 08/03/20 Page 3 of 18 PageID: 1215



                           TABLE OF AUTHORITIES

 Cases

 Advanced Enterprises Recycling, Inc. v. Bercaw,
      376 N.J. Super. 153 (App. Div. 2005). . . . . . . .10,11

 Bartholomew v. Fischl,
      782 F.2d 1148 (3d Cir. 1986). . . . . . . . . . . .3

 Bell Atl. Corp. v. Twombly,
      550 U.S. 544, 570 (1955). . . . . . . . . . . . . .3

 Big M, Inc. v. Dryden Advisory Group,
      No. 08-3567, 2009 WL 1905106
      (D.N.J. June 30, 2009). . . . . . . . . . . . . . . 5

 Bond v. Vining Sparks (In re U.S. Mortg. Corp.),
      492 B.R. 784 (Bankr. D.N.J. 2013). . . . . . . . . 9

 Dairy Queen, Inc. v. Wood,
       369 U.S. 469, 478 (1962 ). . . . . . . . . . . . .9

 Delzotti v. Morris,
      2015 WL 5306215, (D.N.J. Sept. 10, 2015) . . . . . 9

 F.G. v. MacDonell,
      150 N.J. 550, 696 A.2d 697 (N.J. 1997). . . . . . . 5

 Fowler v. UPMC Shadyside,
       578 F.3d 203 (3d Cir. 2009). . . . . . . . . . . . 3

 Girard Bank v. Mt. Holly State Bank,
      474 F. Supp. 1225 (D.N.J. July 27, 1979). . . . .             12

 Grund v. Del. Charter Guarantee & Tr. Co.,
      788 F. Supp. 2d 226 (S.D.N.Y. 2011). . . . . . . . 8

 Phillips v. Cnty. of Allegheny,
      515 F.3d 224 (3d Cir. 2008). . . . . . . . . . . . .3

 Rainbow Apparel Inc. v. KCC Trading, Inc.,
      2010 WL 2179146 (D.N.J. May 26, 2010). . . . . . . .9

 Regions Bank v. Provident Bank, Inc.,
      345 F.3d 1267 (11th Cir. 2003). . . . . . . . . . . 13



                                      ii
Case 3:20-cv-06180-FLW-DEA Document 32 Filed 08/03/20 Page 4 of 18 PageID: 1216



 Schaffer v. Home Mortg. Corp.,
      2019 WL 1434720 (D.N.J. Mar. 31, 2019). . . . . . . .6,7

 Sebastian v. D&S Express, Inc.,
      61 F. Supp. 2d 386, 391 (D.N.J. 1999). . . . . . . . .12,13

 Sheerbonnet, Ltd. v. Am. Express Bank, Ltd.,
      951 F. Supp. 403, 407 (S.D.N.Y. 1995). . . . . . . . .13

 Sturm v. Clark
      835 F.2d 1009 (3d Cir. 1987). . . . . . . . . . . . 2

 Tiberi v. CIGNA Corp.,
      89 F.3d 1423 (10th Cir. 1996). . . . . . . . . . . .8

 United Jersey Bank v. Kensey,
      306 N.J.Super. 540 A.2d 38 (App. Div. 1997). . . . . .7

 Vibra-Tech Eng'rs, Inc. v. Kavalek,
      2011 WL 111417, (D.N.J. Jan. 13, 2011). . . . . . . .5



 Rules

 Rule 12(B)(6). . . . . . . . . . . . . . . . . . . . . .2,3



 American Jurisprudence
 18 Am Jur 2d Conversion § 8. . . . . . . . . . . . . . .9




                                     iii
Case 3:20-cv-06180-FLW-DEA Document 32 Filed 08/03/20 Page 5 of 18 PageID: 1217




                           PRELIMINARY STATEMENT

       Defendant J.P. Morgan Chase Bank, N.A.’s Motion to Dismiss

 Plaintiff’s Amended Complaint pursuant to Fed. R. Civ. P. 12(b)(6)

 must be denied where a legally cognizable claim is pled, where a

 fiduciary    relationship    existed       between   the     parties   therefore

 entitling Plaintiff to the relief Plaintiff seeks in Count I of

 the   Complaint,    and   where   Plaintiff’s        claim     for   common    law

 conversion is not barred by the UCC.          Where Plaintiff has properly

 pled a claim upon which relief can be granted, Defendant’s motion

 must be denied.

                             STATEMENT OF FACTS

       Plaintiff,     Financial     Resources         Federal     Credit       Union

 (“FRFCU”), is a federally chartered credit union headquartered in

 Bridgewater, New Jersey. Defendant J.P. Morgan Chase Bank, N.A.,

 doing business as Chase Bank (hereinafter “Chase Bank”), was and

 is a financial institution at which account(s) were maintained for

 Defendant Alloya to use to fill cash orders for Automated Teller

 Machines (hereinafter “ATMs”) owned and/or operated by Plaintiff,

 FRFCU.

       Commencing in 2013, FRFCU entered a contractual relationship

 with Alloya for the purpose of providing and/or supplying cash for

 Automated Teller Machines (hereinafter “ATMs”) owned by FRFCU. The

 cash which was used for Plaintiff’s ATMs was provided through an



                                        1
Case 3:20-cv-06180-FLW-DEA Document 32 Filed 08/03/20 Page 6 of 18 PageID: 1218



 account maintained at Defendant Chase Bank for that purpose.

 Defendant Alloya would withdraw the money from the Chase account

 and the cash carriers would then transport the funds to the ATMs.

 When deliveries of new cash would be made to the ATMs, deposits

 and cash remaining from the prior deposit would also be picked up.

 Upon information and belief, the cash would ultimately be returned

 to   the   account(s)   at   Defendant         Chase   Bank,   from   which    the

 withdrawals of cash were made.

       Beginning on or about May 22, 2014 and continuing through

 December 22, 2015, Plaintiff did not receive proper credits or

 reconciliation of its FRFCU Transaction Account via Alloya, at

 Defendant Chase Bank for cash and cash deposits that were retrieved

 by   Defendant    Diebold    and/or       at    Diebold’s      direction,     when

 deliveries were made to Plaintiff’s ATMs. As such, Plaintiff filed

 suit against several Defendants, including Defendant Chase Bank,

 for an accounting and for conversion.



                               LEGAL ARGUMENT

 I.    WHERE PLAINTIFF PLED LEGALLY COGNIZABLE CLAIMS AGAINST
       DEFENDANT J.P. MORGAN CHASE BANK, N.A., DEFENDANT’S MOTION
       TO DISMISS MUST BE DENIED

       A motion to dismiss pursuant to Rule 12(b)(6) for failure to

 state a claim upon which relief can be granted does not attack the

 merits of the action, but merely tests the legal sufficiency of a

 complaint. Sturm v. Clark, 835 F.2d 1009, 1011 (3d Cir. 1987). A


                                       2
Case 3:20-cv-06180-FLW-DEA Document 32 Filed 08/03/20 Page 7 of 18 PageID: 1219



 court may grant a motion to dismiss a complaint under Rule 12(b)(6)

 "only if, accepting all alleged facts as true, the plaintiff is

 not entitled to relief." Bartholomew v. Fischl, 782 F.2d 1148,

 1152 (3d Cir. 1986).       In considering a Rule 12(b)(6) motion to

 dismiss on the pleadings, the court accepts as true all of the

 facts in the complaint and draws all reasonable inferences in favor

 of the plaintiff. Phillips v. Cnty. of Allegheny, 515 F.3d 224,

 231 (3d Cir. 2008). Moreover, dismissal is inappropriate even where

 "it appears unlikely that the plaintiff can prove those facts or

 will ultimately prevail on the merits." Id.            To survive a motion

 to dismiss, a complaint must contain sufficient factual matter,

 accepted as true, to state a claim for relief that is plausible on

 its face. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (1955);

 see also Fowler v. UPMC Shadyside, 578 F.3d 203, 210 (3d Cir.

 2009).

       Plaintiff    has   sufficiently    set   forth    cognizable   claims

 against Defendant Chase Bank.       As set forth in Plaintiff’s Amended

 Complaint, Defendant Chase Bank was and is a financial institution

 at which account(s) were maintained for Plaintiff, via Alloya, and

 were used to fill cash orders for Automated Teller Machines owned

 and/or operated by Plaintiff.        The credit or payment for the ATM

 cash would come from an account held at Chase Bank, and maintained

 by Plaintiff.     Deposits made at the ATMs would be delivered back

 to Chase Bank, and would credit Plaintiff’s account.


                                      3
Case 3:20-cv-06180-FLW-DEA Document 32 Filed 08/03/20 Page 8 of 18 PageID: 1220



       Beginning on or about May 22, 2014 and continuing through

 December 22, 2015, Plaintiff did not receive proper credits or

 reconciliation of its account at Chase Bank for cash and cash

 deposits that were moved to and from the account to the ATMs.

 Defendant    Chase   Bank    at   all   relevant   times   hereto,   jointly,

 severally and/or individually exercised possessory control over

 Plaintiff’s monies, and while under Defendant’s control, a total

 $503,419.00 is unaccounted for. Each of the Defendants exercised

 possessory control over Plaintiff’s funds at some point during the

 relevant time period, i.e. when the funds disappeared.                  Where

 multiple    Defendants      had   possessory   control     over   the   funds,

 Plaintiff was left with no alternative but to file suit against

 all of the Defendants.        An accounting is required, as it must be

 determined how fault would be apportioned amongst the Defendants

 for the conversion of Plaintiff’s monies.             Where Chase Bank was

 one of several Defendants that exercised possessory control over

 the Plaintiff’s funds during the relevant time period, Plaintiff

 has set forth a legally cognizable claim against Defendant Chase

 Bank for an accounting and for conversion.


 II.   DESPITE DEFENDANT’S ARGUMENT TO THE CONTRARY, A FIDUCIARY
       DUTY EXISTS BETWEEN PLAINTIFF AND DEFENDANT, AND WHERE THERE
       IS NO OTHER REMEDY AT LAW, PLAINTIFF IS ENTITLED TO AN
       ACCOUNTING

       The existence of a fiduciary relationship between Plaintiff

 and moving Defendant precludes dismissal of Count I of Plaintiff’s


                                         4
Case 3:20-cv-06180-FLW-DEA Document 32 Filed 08/03/20 Page 9 of 18 PageID: 1221



 Complaint as to Chase Bank. The determination of a fiduciary

 relationship is a fact intensive inquiry. Vibra-Tech Engineers,

 Inc. v. Kavalek, 2011 WL 111417, at *4 (D.N.J. Jan. 13, 2011). A

 fiduciary relationship arises between two parties when one party

 has a duty to give advice or act for the benefit of another on

 matters within the scope of their relationship. F.G. v. MacDonell,

 150 N.J. 550, 696 A.2d 697, 704 (N.J. 1997). A hallmark of a

 fiduciary relationship is one party's placement of "trust and

 confidence in another." Big M, Inc. v. Dryden Advisory Group, 2009

 WL 1905106 at *24 (D.N.J. June 30, 2009) ("A fiduciary obligation

 exists whenever one person places special trust and confidence in

 another person upon whom the person relies to exercise discretion

 and expertise upon behalf of that person").

       Defendant Chase Bank argues that the relationship between

 Plaintiff and Defendant was one of debtor-creditor, which rarely

 are found to give rise to a fiduciary duty, and cites a number of

 cases to support that argument. However, the relationship between

 the plaintiff and defendant in every case cited by Defendant was

 either created by a party taking out a loan or mortgage with the

 other, or through bankruptcy. None of those cases reflect the

 relationship    between    Plaintiff       and   Defendant   in   the   present

 matter.

       All money alleged to be lost in this action belongs to

 Plaintiff, and Plaintiff owes no debt to Defendant. Defendant Chase


                                        5
Case 3:20-cv-06180-FLW-DEA Document 32 Filed 08/03/20 Page 10 of 18 PageID: 1222



  Bank    was   responsible      for   maintaining       accounts       containing

  Plaintiff’s funds.      And though generally, relationships between a

  depositor and a bank are viewed to be one of debtor-creditor, that

  is not always the case.

         Recently, in Schaffer v. Home Mortg. Corp., WL 1434720 (D.N.J.

  Mar. 31, 2019) in the context of a motion to dismiss filed by

  plaintiffs    against    defendant       PNC   Bank,   the     District      Court

  determined that plaintiffs, who were depositors with defendant PNC

  Bank,    alleged    sufficient   facts    to   support   their       claim   of   a

  fiduciary relationship with PNC. In Schaffer, plaintiffs filed

  suit    against    several   defendants    alleging    that    the    defendants

  conspired to steal or convert plaintiffs’ funds, which had been

  deposited in an escrow account at PNC Bank, intended as a good

  faith deposit for plaintiff’s purchase of a corporation, Home

  Mortgage Corporation.        Id. at *1-2.      The plaintiffs and defendant

  DiAntonio opened and became signatories on a PNC Bank account and

  deposited $100,000 into the account as a good faith deposit to be

  held in escrow as part of an agreement between the parties to

  purchase Home Mortgage Corporation. Id. Plaintiffs left PNC Bank,

  and alleged that after they left and without plaintiff’s knowledge

  or consent, defendant Sisson and Zagoria were added to the PNC

  bank account as co-signatories.            Id. at *2.        Plaintiffs allege

  that they discovered several fraudulent activities by Sisson and

  Zagoria. Id. Plaintiffs alleged that Sisson and Zagoria improperly


                                        6
Case 3:20-cv-06180-FLW-DEA Document 32 Filed 08/03/20 Page 11 of 18 PageID: 1223



  used $92,000 of the of $100,000 that was supposed to be held in

  escrow   as    good    faith   money   for        the   same    of     Home   Mortgage

  Corporation. Id. Plaintiffs filed suit against several defendants,

  including PNC Bank, alleging that PNC bank owed them a duty of

  care when they signed an agreement to become signatories on the

  PNK bank account in which they deposited their good faith $100,000

  to be held in escrow.

        PNC Bank filed a motion to dismiss the plaintiffs’ complaint,

  arguing that the plaintiffs failed to establish the existence of

  a fiduciary duty.          The District Court disagreed. Id. at *5.

  Generally, a fiduciary relationship arises only in cases in which

  one of the parties "'expressly reposes a trust or confidence in

  the other' or because of the circumstances 'such a trust or

  confidence     is    necessarily   implied."'           United       Jersey   Bank    v.

  Kensey, 306 N.J.Super. 540, 553, 704 A.2d 38 (App. Div. 1997).

  While the District Court acknowledged that ordinarily “a bank’s

  relationship with a depositor is one of debtor-creditor” and that

  generally creditor-debtor relationships rarely give rise to a

  fiduciary duty, in this circumstance, where a relationship existed

  between plaintiffs and PNC Bank in the form of an escrow, which by

  its   nature    is    a   relationship       of    trust,      there    did   exist   a

  relationship giving rise to a fiduciary duty. Schaffer at *5.

        For     the    reasons   discussed      by    the     Schaffer     Court,      the

  relationship here between Plaintiff and Defendant, Chase Bank,


                                           7
Case 3:20-cv-06180-FLW-DEA Document 32 Filed 08/03/20 Page 12 of 18 PageID: 1224



  based on the circumstances, was one established on trust and

  confidence. Plaintiffs monies were deposited and maintained by

  Defendant, Chase Bank. Funds were deposited and withdrawn in order

  to supply Plaintiff’s ATM machines with the necessary cash in order

  for Plaintiff’s business to operate.               At some point in time,

  extensive   funds   suddenly     went       unaccounted    for.    Critically,

  Plaintiff depended on Defendants to preserve and account their

  financial   assets--loss    or   destruction        of    those   assets   would

  directly impact Plaintiff’s business. As the entity responsible

  for   maintaining   the   funds,   a        fiduciary    relationship   existed

  between the parties and an accounting is essential.

        In Tiberi v. CIGNA Corp., 89 F.3d 1423 (10th Cir. 1996) the

  court found that Tiberi, being an exclusive agent of Cigna, meant

  that Tiberi’s success hinged solely on Cigna’s performance. Tiberi

  placing that great of trust in Cigna’s judgement meant to the court

  that there was sufficient evidence to prove that was a genuine

  issue of material fact regarding whether a fiduciary relationship

  existed. Id. at 1432. Defendant clearly owed a fiduciary duty to

  Plaintiff and breached that duty.            Any questions of fact as to the

  relationship cannot be resolved on a motion to dismiss. Grund v.

  Del. Charter Guarantee & Tr. Co., 788 F. Supp. 2d 226, 249

  (S.D.N.Y. 2011).

        Courts have long recognized a claim for accounting based on

  the existence of a fiduciary duty and the need for discovery.


                                          8
Case 3:20-cv-06180-FLW-DEA Document 32 Filed 08/03/20 Page 13 of 18 PageID: 1225



  Delzotti v. Morris, 2015 WL 5306215, at *10 (D.N.J. Sept. 10,

  2015). In Bond v. Vining Sparks (In re U.S. Mortg. Corp.), 492

  B.R. 784 (Bankr. D.N.J. 2013) the Court declined to dismiss an

  accounting claim because discovery was needed to determine whether

  a fiduciary relationship existed. For the same reasons the Court

  denied     the   motion   to   dismiss   in   Bond,   the   Court   must   deny

  Defendant’s Motion here, where at a minimum, the existence of a

  fiduciary duty between Plaintiff and Defendant Chase Bank is in

  dispute.

     A. PLAINTIFF CAN ESTABLISH THE NECESSARY ELEMENTS FOR AN
        ACCOUNTING CLAIM WHERE THERE EXISTS A FIDUCIARY
        RELATIONSHIP AND THERE IS NO OTHER REMEDY AT LAW FOR THE
        RELIEF PLAINTIFF SEEKS IN COUNT I OF PLAINTIFF’S COMPLAINT

       Plaintiff is entitled to the relief sought in Count I of

  Plaintiff’s Complaint and therefore Defendant’s Motion must be

  denied. In order to be entitled to an accounting, in addition to

  establishing the fiduciary relationship as established above, it

  must be shown that there is no other adequate remedy at law. See

  Rainbow Apparel Inc. v. KCC Trading, Inc., 2010 WL 2179146 at *6-

  7 (D.N.J. May 26, 2010) citing Dairy Queen, Inc. v. Wood, 369 U.S.

  469, 478 (1962).

       Where the bank account from which the funds are unaccounted

  for was maintained by Defendant Chase Bank, it might very well be

  that Chase Bank is the only party that can account for the

  whereabouts of the $503,419.00 of Plaintiff’s funds.                Plaintiff



                                           9
Case 3:20-cv-06180-FLW-DEA Document 32 Filed 08/03/20 Page 14 of 18 PageID: 1226



  has clearly established that it is entitled to an accounting. A

  claim seeking a full accounting is necessary and would provide

  that information. Where there is a fiduciary relationship between

  Plaintiff and Defendant Chase Bank and where there is no other

  adequate remedy at law, Plaintiff has pled a cognizable claim for

  an accounting and therefore Defendant’s Motion to Dismiss Count I

  of Plaintiff’s Complaint must be denied.

  III. PLAINTIFF’S CLAIM FOR CONVERSION IS PROPER BECAUSE THE FUNDS
       ARE NOT A DEBT, AND THE MONEY SUBJECT TO THE ALLEGED
       CONVERSION WAS A DETERMINATE SUM THAT WAS ENTRUSTED TO
       DEFENDANT FOR A SPECIFIC PURPOSE.

       Plaintiff has properly set forth the requisite elements of a

  conversation claim against Defendant Chase Bank and therefore

  Defendant’s Motion to Dismiss the second count of Plaintiff’s

  Amended Complaint must be denied.

       As set forth in Defendant’s own brief, the “tort of conversion

  is the wrongful exercise of dominion and control over property

  owned by another in a manner inconsistent with the owner’s rights.”

  See Db. At 8 citing to Advanced Enterprise Recycling, Inc. v.

  Bercaw, 376 N.J. Super. 153, 161 (App. Div. 2005). Here, Plaintiff

  has clearly established that it exercised dominion and control

  over property owned by another, where Chase Bank had dominion and

  control over FRFCU’s funds.        It is Plaintiff’s allegation that

  Chase Bank acted in a way that was inconsistent with FRFCU’s

  rights, which led to the more than a half million dollars in



                                      10
Case 3:20-cv-06180-FLW-DEA Document 32 Filed 08/03/20 Page 15 of 18 PageID: 1227



  unaccounted funds. As such, by Defendant’s own argument, Plaintiff

  has sufficiently pled the requisite elements for a conversation

  claim against Defendant Chase Bank.

       Defendant Chase Bank wrongfully argues that the relationship

  between Plaintiff and Chase Bank here is one of a debtor-creditor

  and therefore any alleged loss of money would be represented as a

  debt and an action of conversion would be improper. However, the

  court in Advanced Enterprises Recycling, Inc. specifically stated

  that “[h]ere, the funds in question           were not deposited with

  [defendant], but were the proceeds of sales made by [defendant].

  Plaintiffs and [defendant], therefore, stand in a debtor-creditor

  relationship.”    Id. 162 (emphasis added). The relationship between

  Plaintiff and Defendant is better represented in the beginning of

  the quote, as Plaintiff had deposited the funds in question with

  Defendant, and therefore would not be described as a debtor-

  creditor relationship.

       Furthermore, 18 Am Jur 2d Conversion § 8, which states legal

  authority on actions of conversion, advises that:

             …while conversion does not lie for money
             represented by a general debt, it is
             otherwise where funds are placed in the
             custody of another for a specific purpose.
             In other words, money may be the subject
             of a conversion action only if it is a
             determinate sum which the defendant was
             entrusted to apply to a certain purpose.

             18 Am Jur 2d Conversion § 8 (emphasis added).



                                      11
Case 3:20-cv-06180-FLW-DEA Document 32 Filed 08/03/20 Page 16 of 18 PageID: 1228



        The money alleged to have been converted is a determinate sum

  of $503,419.00. Plaintiff entrusted their money in the custody of

  Defendant in the form of the Transaction Account for the specific

  purpose of being strictly used as funds for Plaintiff’s ATMs. The

  Court, following what is stated in 18 Am Jur 2d Conversion § 8,

  should find that Plaintiff’s claim of conversion is proper.


  IV.   THE U.C.C. DOES NOT BAR PLAINTIFF FROM MAKING A COMMON LAW
        CONVERSION CLAIM.

        The   Uniform   Commercial    Code   (U.C.C.)cannot    be   read   to

  preclude a common law action. Girard Bank v. Mt. Holly State Bank,

  474 F. Supp. 1225, 1239 (D.N.J. July 27, 1979). Further, the court

  in Sebastian v. D&S Express, Inc. found that the analysis for

  whether common law remedies are preempted by the U.C.C. begins

  first with:

        …two basic propositions. "First, the UCC is to be
        'liberally construed and applied to promote its
        underlying purposes and policies,' which include
        simplifying and clarifying the law governing
        commercial transactions, fostering the expansion of
        commercial practices, and standardizing the laws of
        the various jurisdictions." New Jersey Bank, N.A. v.
        Bradford Securities Operations, Inc., 690 F.2d 339,
        345, 34 U.C.C. Rep. Serv. (Callaghan) 1057 (3d Cir.
        1982) (citing Section I- 1 02(l)-(2)); see also 13
        Pa. C. S.A. II 02(b). Second, the New Jersey Bank
        court reminds the reader that "the UCC does not
        purport to preempt the entire body of law affecting
        the rights and obligations of parties to a
        commercial transaction." New Jersey Bank, 690 F.2d at
        345. Courts have interpreted these two basic
        principles to mean that the UCC does not displace
        the common law of tort unless reliance on the common
        law would "thwart the purposes of the Code." New Jersey


                                      12
Case 3:20-cv-06180-FLW-DEA Document 32 Filed 08/03/20 Page 17 of 18 PageID: 1229



       Bank, 690 F.2d at 345.

       61 F. Supp. 2d 386, 391 (D.N.J. 1999).


       In Regions Bank v. Provident Bank, Inc., 345 F.3d 1267 (11th

  Cir. 2003) the Court was similarly faced with an alleged harm from

  a funds transfer.      The Court looked to Article 4A of the U.C.C.

  for direction. "Parties whose conflict arises out of a funds

  transfer should look first and foremost to Article 4A for guidance

  in bringing and resolving their claims . . . ." Sheerbonnet, Ltd.

  v. Am. Express Bank, Ltd., 951 F. Supp. 403, 407 (S.D.N.Y. 1995).

  The plaintiff was asserting several different common law claims,

  to which the defendant raised the argument that they were barred

  by the U.C.C. The court held that Article 4A is not the "exclusive

  means by which a plaintiff can seek to redress an alleged harm

  arising from a funds transfer." Regions, 345 F.3d at 1275, quoting

  Sheerbonnet, 951 F. Supp. at 409. The only restraint on this

  principle that the court found was that "resort[ing] to principles

  of law or equity outside of Article 4A is not appropriate to create

  rights, duties and liabilities inconsistent with those stated in

  this Article." U.C.C. § 4A-102 cmt. But, the Court did not find

  relying on common law remedies was inconsistent with the U.C.C. as

  "[t]he Article itself is replete with references to common law

  remedies." Sheerbonnet, 951 F. Supp. at 408. Similarly, here should

  Plaintiff’s common law claim of conversion is not inconsistent



                                      13
Case 3:20-cv-06180-FLW-DEA Document 32 Filed 08/03/20 Page 18 of 18 PageID: 1230



  with the rights, duties, and liabilities stated in the U.C.C. and

  as such Plaintiff must not be precluded from asserting a common

  law claim against Defendant here.

                                  CONCLUSION

       For the foregoing reasons, Plaintiff respectfully requests

  that this Court deny Defendant Chase Bank’s Rule 12(b)(6) Motion

  to Dismiss Plaintiff’s Complaint.

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                                     & GENITEMPO
                                     Attorneys for Plaintiff
                                     Financial Resources Federal
                                     Credit Union

                                     By: Daniel R. Bevere
  Dated: August 3, 2020                   DANIEL R. BEVERE, ESQ.
                                          Member of the Firm




                                      14
